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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


TEXAS ASS’N FOR MONEY SERVICES
BUSINESSES (TAMSB), et al.

       Plaintiffs,

                       v.

PAM BONDI, in her official capacity as
Attorney General; SCOTT BESSENT, in his
                                                   Civil Action No. 25-cv-344
official capacity as Secretary of the Treasury;
UNITED STATES DEPARTMENT OF THE
TREASURY; ANDREA GACKI, in her
official capacity as the Director of the
Financial Crimes Enforcement Network;
FINANCIAL CRIMES ENFORCEMENT
NETWORK,

       Defendants.


                                     NOTICE OF ERRATA

       Defendants respectfully notify the Court that they discovered typographical errors in the

Declaration of Andrea Gacki, ECF No. 33-1. Accordingly, Director Gacki has re-executed a

corrected declaration dated May 6, 2025, with the following nonsubstantive changes:

           •   Page 5 / Para. 8 - correcting the number of covered Texas counties from seven to
               five (as already reflected in the text of the parenthetical);
           •   Page 5 / Para. 9 - correcting “SWB GTO” to “SW Border GTO”;
           •   Page 6 / Para. 11 - correcting “SWB GTO” to “SW Border GTO”;
           •   Page 10 / Para. 26 - correcting “85 Fed. Reg. 29022, 29020” to “85 Fed. Reg.
               29022, 29029”;
           •   Page 10 / Para. 27 - correcting “the Texas Association for Money Services
               Businesses (TAMSB)” to TAMSB.


Defendants respectfully request that the Court consider this corrected declaration in lieu of the

declaration filed at ECF No. 33-1.
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Dated May 7, 2025                  Respectfully submitted


                                    YAAKOV ROTH
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                                    STEPHEN M. ELLIOTT
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                                    /s/ Amy E. Powell_____________________
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